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   IT IS ORDERED as set forth below:



   Date: January 11, 2022
                                                      _________________________________

                                                                 Paul W. Bonapfel
                                                           U.S. Bankruptcy Court Judge
  _______________________________________________________________



                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                         )   CHAPTER 7
                                               )
HP/ SUPERIOR, INC.                             )   CASE NO. 14-71797 - PWB
                                               )
         Debtor.                               )
                                               )
                                               )
S. GREGORY HAYS, Trustee of the Estate of      )   CONTESTED MATTER
HP/Superior, Inc.,                             )
                                               )
         Objector,                             )
                                               )
         vs.                                   )
                                               )
JAMES A. FAUNCE-ZIMMERMAN,                     )
                                               )
         Claimant.                             )
                                               )

                   ORDER SUSTAINING OBJECTION TO
      PROOF OF CLAIM NO. 27-1 FILED BY JAMES A. FAUNCE-ZIMMERMAN

         On November 30, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate HP/Superior, Inc., filed an objection (the “Objection”) to Claim No. 27-1 (the

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“Claim”) filed by James A. Faunce-Zimmerman (“Claimant”) and a notice of requirement of

response and notice of hearing (the “Notice”) setting a hearing (the “Hearing”) on the Objection

for January 6, 2021 [Doc. No. 272]. Counsel for Trustee certifies that he served the Objection

and the Notice on all requisite parties in interest. [Doc. No. 272].

       In the Objection, Trustee requested that the Claim be reclassified and allowed as a

priority claim under 11 U.S.C. § 507(a)(7) in the amount of $2,775.00 and as a non-priority,

general unsecured claim in the amount of $330.00.

       No party in interest filed a response to the Objection.

       Counsel for Trustee appeared at the calendar call for the Hearing. No creditor or other

party interest appeared at the calendar call for the Hearing.

       The Court having considered the Objection and the entire record in this bankruptcy case

and no parties in interest having filed or served a response to the Objection or appearing at the

Hearing to oppose the relief requested in the Objection; and, for good cause shown, it is hereby

       ORDERED that the Objection is SUSTAINED: Claim No. 27-1 is reclassified and

allowed as a priority claim under 11 U.S.C. § 507(a)(7) in the amount of $2,775.00 and as a non-

priority, general unsecured claim in the amount of $330.00.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of parties to be served:

Office of the United States Trustee
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Wascott, WI 54890

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Office of the United States Trustee
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S. Gregory Hays
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Ashley Reynolds Ray
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Atlanta, GA 30237

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